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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

KATHERINE ROBINSON; and WILLIAM Case No.: 2:14-cv-02910-KJM-KJN

ROBINSON,

Plaintiffs, MEMORANDUM OF POINTS AND
AUTHORITIES IN OPPOSITION TO
DEFEDANTS MOTION FOR SUMMARY
JUDGMENT

VS.

COUNTY OF SHASTA: SHASTA
SHERIFF’S DEPARTMENT: CITY OF
REDDING: CITY OF REDDING POLICE
CHIEF, ROBERT F. PAOLETTI: Date: September 8, 2017
REDDING POLICE OFFICER, Time: 10:00 a.m. |
CORPORAL M. WOODS, BADGE #321; Courtroom: 3, 15° Floor
REDDING POLICE OFFICER, A.

HOLLEMON, BADGE #168: and

REDDING POLICE OFFICERS as DOE 1

through DOE 50.

Defendants

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I. INTRODUCTION

On July 19, 2014, Plaintiff's decedent son Matthew Robinson suffered a serious
setback due to his mental condition known as bi-polar. The onset of Matthew’s (M)
besetment occurred during his college years at California State University, Chico
(CSUC). Despite the severe disability of mood disorder of manic (bipolar disease) with
paranoid features, Matthew was able to regulate and control his condition through
medication and counseling. Despite treatment Matthew ended up being declared
unable to care for himself under § 5150 of California Welfare and Institution Code. As
part of his treatment at Enloe Hospital in Chico, CA, Enloe prescribed Matthew be
transported to a locked facility in Redding, CA known as “Restpadd”. Upon arriving at
Restpadd, Robinson grew paranoid and agitated. Restpadd requested that Robinson
be taken to a hospital to calm down and be medicated. Redding Police were called to
assist, but when Defendant Officer Woods arrived he expressed great hostility to the
request for assistance calling it “Butte County Bullshit”. Woods then confronted
Robinson, threatening to bring in a bunch of officers and “beat his fucking ass’. Once
Robinson was out of the transport vehicle he was taken to the ground by Defendant
Woods and Defendant Officer Hollemon. Robinson was forcibly restrained and hog tied
face down after Woods hit him repeatedly in the face with a metal OC Spray Canister,
fracturing his nose and cutting into his muscle tissue above his left eye. Another
Officer, Smyrnos, places a garment called a “spit mask” over Robinson's head, despite
the manufacturers warning not to use the mask where blood and saliva are present.
Shortly after the placement of the mask, an unknown person described Robinson as
“not breathing”. Despite attempt at resuscitation, Robinson died several days later.

ll. STATEMENT OF FACTS

Matthew Robinson was the 32 year old son of Plaintiff's Katherine and William
Robinson. On the early evening of July 19, 2014 a medical decision was made to
transport Matthew from Enloe Hospital in Chico, CA to Restpadd Mental Hospital in
Redding, CA some 65 minutes away. (Plaintiffs Statement of Facts (PSF) #1).

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Just prior to arrival in Redding, Matthew Robinson began anxiously expressing
the belief that the driver, Schneider, was driving recklessly and that they were being
pursued. (PSF#3) Restpadd personnel refused to accept Robinson in an agitated state.
(PSF#5) Schneider decided to call Redding Police Department for assistance in
removing Robinson from the back of the vehicle. (PSF#6) When Redding Police
Officer, Woods a defendant, arrived he stated in an angry voice, “smells like a bunch of
Butte County bullshit dumped in our lap and I’m not fucking happy.” (PSF#7) Defendant
Woods stated he did not believe that the police should have to handle this call.
(PSF#8) Woods showed his flashlight into the rear of the transport vehicle (PSF#8).
Woods told Robinson that if he didn’t calm down he would call a bunch of officers to the
scene and beat Robinson’s fucking ass. (PSF#9) Defendant Woods and Redding
Police Department Defendant Officer Hollemon knew Robinson was a mentally ill
patient and not a criminal. (PSF#10,11) Defendant’s Woods and Hollemon did not
devise a plan nor did they consult with Restpadd personnel before removing Robinson
from the transport vehicle. (PSF#12,14) Woods threatened to pepper spray Robinson
(PSF#15) During the removal, Robinson’s hand struck Defendant's Hollemon’s elbow
(PSF#17) Woods took Robinson down to the ground and struck Robinson in the face
with the pepper spray can, cutting Robinson’s face, breaking Robinson's nose and at
least two ribs. (PSF#19). Although Robinson was bleeding profusely and sweating,
Defendant Police Department Officer Smyrnos placed a spit mask over his head.
(PSF#22,23) Due to the presence of bleeding, mucous and sweat use of a spit hood
was contradicted. (PSF#24,25) As he lays face down Robinson was discovered to not
be breathing (PSF#50) Tests of spit hood confirmed that the material does not
transport air if wet with blood and mucous. (PSF#25) Robinson died at Mercy Medical
Center July 27, 2014. (PSF#61) Shasta County Medical Examiner Dr. Katherine
Raven performed the Postmortem Examination on July 28, 2014. (Plaintiffs’s Ex.2)
Raven testified that Robinson did not die from “excited delirium” because Robinson did

not have an elevated body temperature nor was there a presence of methamphetamine

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or cocaine in Robinson’s system. (PSF#54) On December 12, 2014 another medical
examiner, Arnold R. Josselson M.D., retained by Shasta County reviewed medical
records and declared Robinson died of cardiac arrest after experiencing excited
delirium (Plaintiff's Ex. 3) Upon being admitted to Mercy Medical Center, Robinson,
was described with the following conditions: “Soft tissue swelling over the left zygoma,
molar eminence, and infraorbital region, Mildly displaced anterior nasal bone fracture.”
Twelfth and tenth rib fractures, “acute cardiopulmonary arrest with return of
spontaneous circulation. Acute left forehead contusion.” (Plaintiff Ex.4)
lil. LEGAL ARGUMENT

A. Legal Standard

Summary Judgment is appropriate when there is no genuine issue as to any
material fact and the moving party is entitled to judgment as a matter of law (Fed.
Rules Civ. Proc. 56). At summary judgment, a courts function is not to weigh the
evidence and determine the truth, but to determine whether there is a genuine issue for
trial. Anderson v. Liberty Lobby Inc., 477 U.S. 242, 249, 106 S.Ct 2505, 91 L.Ed.2d 202
(1986). The court must draw all reasonable inferences in favor of the nonmoving party,
and it may not make credibility determinations or weigh the evidence. See /d., at 255,
106 S.Ct. 2505; See also Reeves v. Sanderson Plumbing Products Inc., 530 U.S. 133,
150, 120 S. Ct. 2097, 147 L.Ed.2d 105 (2000). But if the evidence of the non-moving
party is merely colorable or is not significantly probative, summary judgment may be
granted. See Anderson, at 249-250, 106 S.Ct. 2505. A fact is “material” if its proof or
disproof is essential to an element to Plaintiffs case. Celotex Corporation v. Catrett,
477 U.S. 317, 322-323, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). A factual dispute is
“genuine” if the evidence is such “that a reasonable jury could return a verdict for the
non-moving party” Id., at 248, 106 S.Ct. 2505. “Where the record taken as a whole
could not lead a rational trier of fact to find for the nonmoving party, there is no genuine
issue for trial” Matsushita Electric Industrial Co., LTD., et al., v. Zenith Radio

Corporation et al., 475 U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986).

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The moving party bears the initial burden of informing the court of the basis for
its motion and or identifying those portions of the pleadings and discovery responses
that demonstrate the absence of a genuine issue of material fact for trial. Celotex, 477
U.S. at 323, 106 S.Ct. 2548. If the moving party meets its initial burden, the nonmoving
party must go beyond the pleadings and by its own affidavit or discovery, set forth
specific facts showing that there is some genuine issue for trial in order to defeat the
motion. See Fed. Rule of Civ. Proc. 56(c); Anderson, 477 U.S. at 250, 106 S.Ct. 2505.

1. Section 1983 Claims

42 U.S.C. §1983 provides a cause of action for deprivation of “rights, privileges
or immunities secured by the Constitution or laws of the United States,” a person acting
“under color of any statute, ordinance, regulation, custom, or usage.” Gomez v. Talido,
446 U.S. 635, 639, 100 S.Ct. 1920, 64 L.Ed.2d 572 (1980). To succeed in asserting the
Section 1983 claims, Plaintiff's must demonstrate that the action occurred “under color
of state law”; and that it resulted in the deprivation of a Constitutional or Federal
Statutory right. Leer v. Murphy, 844 F.2d. 628, 632-633 (Ninth Cir. 1988). As the
moving party, Defendants bear the initial burden on Summary Judgment of pointing out
“an absence of evidence to support Plaintiffs case.” Celotex 477 U.S. at 325, 106 S.Ct.
2548. It is also Defendants burden to prove that they are entitled to qualified immunity.
Moreno v. Baca, 431 F.3d. 633, 638 (Ninth Cir. 2005). Here the parties agree that
Defendants acted under color of state law, but dispute whether they violated the
decedents Fourth Amendment rights.

The Fourth amendment requires law enforcement officer making an arrest to
use only an amount of force that is objectively reasonable in light of the circumstances
facing them. Tennessee v. Garner, 471 U.S.1, 7-8, 105 S.Ct. 1694, 85 L.Ed.2d 1
(1985). To determine the objective reasonableness of a particular use of force is a
three step inquiry. Glenn v. Washington City, 673 F.3d. 864, 871, (Ninth Cir. 2011);
Graham v. Connor, 490 U.S. 386, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989). In the

Graham analysis, a court must “first asses the quantum of force used to arrest the

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Plaintiff by considering the type and amount of force inflicted. Drummond v. City of
Anaheim, 343 F.3d.1052, 1056 (Ninth Cir. 2009) quoting Deorle v. Rutherford, 272
F.3d. 1272, 1279 (Ninth Cir. 2001).” The Second step is to determine the government's
countervailing interest at stake. Relevant factors to this inquiry include but are not
limited to, the severity of the crime at issue, whether the suspect poses an immediate
threat to the safety of the officers or others, or whether he is actively resisting or
attempting to evade arrest by flight. Graham, 490 U.S. at 396. “The relevant factors
include the availability of less intrusive alternatives to the force employed, were the
proper warnings given, or whether it should have been apparent to officers that the
person they used force against was emotionally disturbed.” Glenn, 673 F.3d. at 872.

The reasonableness of force used is ordinarily a question of fact for the jury.
Liston v. County of Riverside, 120 F.3d. 965, 976 (Ninth Cir. 1997). “Because the
excessive force inquiry nearly always requires a jury to sit through disputed factual
contentions and to draw inference therefrom the Ninth Circuit has held on many
occasions that Summary Judgment or Judgment as a matter of law in excessive force
cases should be granted sparingly.” Avina v. U.S, 681 F.3d. 1127, 1130 (Ninth Cir.
2012). The Ninth Circuit has cautioned that excessive force cases pose a particularly
difficult problem “especially were cases involve an in custody death, because “the
witness most likely to contradict an officers story is not available to testify.” Gonzalez v.
City of Anaheim, 747 F.3d. 789, 794-795, (Ninth Cir. 2014). In Such cases the
evidence should be carefully examined “to determine whether the officers’ story is
internally consistent and consistent with other known facts. /d. Explaining that “we must
respect the exclusive province of the jury to determine the credibility of witnesses,
resolve evidentiary conflict and draw reasonable inferences from proven facts” The
Ninth Circuit has held that “Summary Judgment should be granted sparingly” in such
cases. Glenn, 673 F.3d. at 871.

Here the Defendants were made aware of decedent Robinson’s mental status

before they ever encountered him directly. Officer Woods began his application of

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excessive force by shining the patrol car spotlight into the passenger compartment,
where Robinson was held and then shining his own flashlight into Robinsons face.
(PSF#9) The second phase of Woods excessive use of force was the verbal threat of
telling Robinson that unless he got out of the back of the vehicle Woods was going to
bring “a bunch of officers down there and beat his fucking ass.”(PSF#9) The next use
of excessive force by Woods was that of aiming a pepper spray canister at Robinson,
and threatening to spray him in the face with it. (PSF#15) The next step of excessive
force was the grabbing of Robinson when he appeared to willingly get out of the vehicle
and the grabbing of his wrist by Hollemon and Woods. Woods then enveloped
Robinson in a bear hug which is a disfavored police tactic for reasons that are obvious
in this case in that it connects the person who is being controlled with the controller in
such a fashion that neither is free to act. In this case Woods, whose weight is in excess
of 270lbs and is 6’ ft. tall and outweighed the decedent by 60lbs grabbed Robinson ina
bear hug and took him to the ground either deliberately or accidentally. Either way the
result of falling to the ground was due to the lack of preparation and proper police
procedures by Woods. Woods previously expressed hostility to the very presence of
Robinson when he told transport driver that he was “sick of people bringing Butte
County bullshit to Shasta County’. Woods subsequent treatment of Robinson
demonstrated clearly the aggressive hostility that Woods held for the circumstances in
which he found himself. Once Woods ended up lying on his back and under Robinson,
without thought or reason, Woods decided to punish Robinson for the mess himself
and Hollemon had made of what should have been a rather simple procedure.
Nevertheless, Woods using his OC spray canister with metal edges, bashed Robinson
in the face with it as hard and fast as he possibly could estimating the blows to be as
many as five. (PSF#19, 20) The photographs accompanying this motion show
Robinson's face to be anything but as described in the moving papers “simple
abrasions’ (Plaintiff's Ex.5) The additional hog-tie of Robinson by Woods, Smyrnos,

and the remaining officers exacerbated the condition, and were topped off by the

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application of a spit mask notwithstanding that all indications for its use were negative.
(PSF#22) Smyrnos was unaware as was Woods, that Robinson had spit and Smyrnos
placed the mask on Robinsons face despite the fact that Robinson had suffered a
broken nose, two fractured ribs, and a very large laceration through muscle tissue
above his left eye with possible damage to underlying brain tissue. (PSF#23,60) The
result of the events just described constitutes the application of lethal force to a person
who had committed no crime, but was merely a mental patient in need of police
protection.

The definition of “lethal force” is that which “creates a substantial risk of death or
serious bodily injury” Brian v. MacPherson, 630 F.3d. 805, 826, at 825 (Ninth Cir. 2010)
citing Smith v. City of Hemet, 394 F.3d. 689, at 705-707 (Ninth Cir. 2005). Interpreting
the facts in the light most favorable to the Plaintiffs for the purpose of Summary
Judgment, the alleged various uses of impact blows constitute lethal force. See /d. at
825 note 7.

Defendant Woods testified that once he got out from under decedent Robinson,
he rolled him over and laid on top of him pressing him down to the ground holding him
down by his body weight of 270Ibs. (PSF#30) Prevailing precedent in the Ninth Circuit
is that law enforcement officers use of body weight to restrain a prone and handcuffed
individual in an agitated state, can cause suffocation “under the weight of restraining
officers” therefor, such conduct maybe considered deadly force. Gonzalez, Supra. 343
F.3d. at 1056-1057 see also Arce v. Blackwell, 294 Fed.Appx. 259, 262 (Ninth Cir.
2008) known as “compression asphyxia” prone and handcuffed individuals in an
agitated state have suffocated under the weight of restraining officers.)

2. Defendant Officers are not entitled to qualified immunity

The Supreme Court case SupraTennessee, 471 U.S. 1, 105 S. Ct. 1694, 85
L.Ed.2d 1 (1985) is sufficient to demonstrate that prior to May 7, 2013, clearly
established case law existed to give Defendants fair notice that using lethal force

against a mentally ill person would be Unconstitutional. Drummond Supra, a Ninth

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Circuit case from 2013, demonstrates that prior to the incident the law was clearly
established that multiple officers alleging use of prolonged body weight pressure to a
subjects back was known to be capable of causing serious injury or death. See
Drummond, 343 F.3d at 1056,See also Sandoval v. Hish, 461 Fed.Appx. 568, 569
(Ninth Cir. 2011) Finding that the use of physical restraints “would've violated the
decedents clearly established right to be free from excessive force at the time of the
incident” and thus defendants were not entitled to qualified immunity. Drummond, 343
F.3d. at 1061-1062. Moreover, Drummond is sufficiently similar to the specific context
of this case that it clearly warned officers that when a suspect is handcuffed and prone
on the ground, further restraint measure if applied as alleged here would be
Unconstitutional. Particular enlargement of Defendants violations of Robinson's rights
is the application of the spit hood, when both officers’ observations did not justify its
use and the manufacturers warning advising them that suffocation could occur in the
presence of bodily fluids such as nasal discharge, mouth saliva, blood, and sweat.
Furthermore, the experiments conducted by Plaintiffs expert David Kagan Ph.D.
objective testing, demonstrate clearly that the spit hood device acts as a suffocating
cloth once it is filled with bodily fluids such as, blood and saliva as nasal discharge,
mouth saliva, blood, and sweat. (Plaintiff Ex. 6)

3. Defendants Mutual Participation Constituted Integral participation

A Plaintiff may hold multiple law enforcement officers liable based on an
“integral participant” theory of liability when at least one officer violates the Plaintiffs
Constitutional rights. Chuman v. Wright, 76 F.3d. 292, 295 (Ninth Cir. 1996). To make a
determination the court evaluates whether the officer was a “full active participant” in
the alleged Constitutional violation Boyd v. Benton City, 374 F.3d. 773, 780 (Ninth Cir.
2004) quoting, Melear v. Spears 862 F.2d. 1177, 1186 (Fifth Cir. 1986). An officer is an
“integral participant” where he or she “participated in some meaningful way” in the
actions that would give rise to Constitutional violation /d. at 781. The Defendant officers

acted unconstitutionally and although an individual officer did not necessarily

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participate in every application of excessive force, they were fundamentally involved in
the altercation with Robinson and thus, are liable under the integral participation
doctrine. See Jones v. Williams, 297 F.3d. 930, 936, (Ninth Cir. 2002). “Integral
participation requires some fundamental involvement in the conduct that allegedly
caused the violation.” Not only is there underlying violated conduct, for all the reasons
addressed at length above, the doctrine of integral participation “extends liability to
those actors who were an integral participants in the Constitutional violation, even if
they did not engage in the Unconstitutional conduct themselves. Hopkins v. Bonvicino,
573 F.3d. 752, 770 (Ninth Cir. 2009). See also Boyd, 374 F.3d. 773 (Ninth Cir. 2004)
(‘Integral participation does not require that each officers actions themselves rise to the

level of a Constitutional violation’).

B. Violation of Principals of Training
The Officers: Hollemon, Smyrnos, and Woods violated the principals of their
training in their conduct toward Robinson. California post trains that during contact with
an emotionally disturbed or mentally ill person (“EDP”) the “situation can be
unpredictable and escalate quickly’(Appendix B, Post-learning domain 37 Pg 4-12).
Officers are instructed to calm the situation by using the following tactics:
e Request Backup
e Move Slowly
e When possible, eliminate emergency lights and sirens and dispersed any
crowd that may have gathered
e Assume a quiet, non-threatening manner when approaching and
conversing with the individual
e If possible avoid physical contact, if no violence or destructive acts have
taken place
e If possible explain intended actions before taking action
e Take time to assess the situation

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e Provide reassurance that officers are there to help
e Give the person time to calm down

Post also instructs Officer to communicate with the EDP:

e Keep sentences short

Talk with the individual in an attempt to determine what is bothering that

person

Acknowledge the persons feelings

Ask if the person is hearing voices and if so, what are they saying

Avoid topics that may agitate the person

Allow time to consider questions and be prepared to repeat them

(Appendix B, post learning domain 37, Pg 4-12, 4-13)
Additionally, post trains police officers, “do not threaten the individual with arrest
or in any other manner” explaining that “threats may create additional freight, stress or

potential aggression.” (Appendix B, Pg. 4-13)

C. PLAINTIFF’S EXPERT REPORT IS RELEVANT EVIDENCE OF
REASONABLENESS OR UNREASONABLENESS (Report attached as Ex.7)

See Glenn v. Washington County 673 F.3d. 864, 877 (Ninth Cir. 2011), Smith v.
City of Hemet, 394 F.3d. 689, 703 (Ninth Cir. 2005), Reynolds v. County of San Diego,
84 F.3d 1162, 1170 (Ninth Cir. 1996) overruled on other grounds by Acri v. Varian
Associates, Inc., 114 F.3d. 999, 1001 (Ninth Cir. 1997). Plaintiff's expert Dr. Martinelli,

whose report and qualifications are attached hereto, stated his opinion that: 1) both
officers Woods and Hollemon had received sufficient law enforcement training to be
able to properly assess Robinson, to determine whether he was experiencing a
psycho-medical emergency requiring medical intervention that was beyond their scope
of knowledge 2) as discussed in opinion No.1 Robinson demonstrated, in the officers
presence, more than sufficient verbal, physical, behavioral and psychological cues that

he was experiencing a mental health disorder in concert with an acute psycho-medical

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emergency to provide both officers with reasonable suspicion and probable cause to
believe that he was gravely disabled and require immediate medical intervention, 3)
while both officers Woods and Hollemon admit that they believed that Robinson was
suffering from a mental health disorder and an acute psycho-medical emergency,
neither officer followed their training. Contrarily the officers treated Robinson as a
suspect in their responses to him, even though both officers were aware that Robinson
had committed no crimes and had not posed a threat to transport driver Schneider nor
themselves prior to forcibly removing him from the transport vehicle. (PSF#10, 11,16)
4) Officer Woods and Hollemon had a community caretaking responsibility to
immediately call emergency medical services to triage and treat Robinson's psycho-
medical emergency. The officers breached their duty to Robinson by taking ill-
considered unplanned, unnecessarily, reckless and dangerous law enforcement
actions culminating in a serious use of force upon him. 5) Officer Woods and Hollemon
law enforcement actions upon Robinson were inconsistent with their law enforcement
training and fell below state and nationally recognized, accepted, and applied
professional law enforcement standards of care (CA-Post LD No. 31 Chp.1, Sec 1-3;
37, Chp1, Sec 1-7; 4-14; 4-28). Officers Woods and Hollemon were aware that
Robinson’s psycho-medical emergency required immediate medical care, but breached
their duty to the decedent to ensure that he was delivered to the nearest hospital to
receive that care. The officers’ actions were inconsistent with their mental-health and
disabled persons training and fell below state and national recognized accepted and
applied professional law enforcement standards of care (CA-Post LD No.37). Dr.
Martinelli also was of the opinion that, Officer Woods use of force upon Robinson was
unnecessary, excessive and inconsistent with his law enforcement training; and not in
compliance with the codified professional standards of law enforcement care. Dr.
Martinelli also observed that officers are specifically trained that they are not allowed to
strike the head of a resistant or combative subject with any impact weapon unless they

reasonably believe that the subject possess an imminent threat of serious bodily injury

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or death. Officers are taught that strikes to the head with an impact weapon can cause
serious injury or death (CA-Post LDS No.20, 33 Chp.1-12, 7-5).

Dr. Martinelli also noted that Corporal Smyrnos, use of his spit mask upon
Robinson was inconsistent with how officers’ are trained to appropriately and properly
use the spit mask. His use of the spit mask upon Robinson is also contrary to the
manufacturer's instructions on the proper use of that device. In the manufacturer’s
written “conditions for use”, they specifically caution, “do not use on anyone who is
vomiting, having difficulty breathing, or bleeding profusely from the mouth or nose
areas.”

It should be noted that the autopsy and medical findings were, Matthew
Robinson had two fractured ribs, a broken nose, and facial lacerations of the facial
muscles. (PSF#60)

An additional expert witness report on spit mask testing by Dr. Kagan, Ph.D
Professor of Physics and Emeritus from California State University, Chico
demonstrated rapid passage of air where no fluid is present in the mask and a subdued
passage of air when only water is present on the mask but an almost total blockage of
air when bioteen is present in the mask and also a substantial blockage of air passage
when egg whites are applied to the mask. Dr. Kagan’s report is attached hereto along
with his CV. Bioteen and egg whites are acceptable substitutes for human blood and
nasal excretions. (Plaintiff Ex.6)

Emotional and/or mental instability is a factor that must be considered in
determining the reasonableness of the force employed. Luchtel v. Hagemann, 623
F.3d. 975, 980 (Ninth Cir. 2010), Drummond, 343 F.3d. 1052, 1058 (Ninth Cir. 2003). It
may also be appropriate to consider the parties “relative culpability” i.e. which party
created the dangerous situation and which party is more innocent may also be

considered, Espinoza v. City and County of San Francisco, 598 F.3d. 528, 537 (Ninth
Cir. 2010).

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In excessive force cases in which death results, the Ninth Circuit has cautioned
that Summary Judgment is to be granted sparingly and that the entirety of the evidence
is to be carefully examined because often times the only surviving witness to the use of
force are defendants. Gonzalez v. City of Anaheim, 747 F.3d. 789, at 794, 795.

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II
D. SURVIVORS RIGHTS

Plaintiffs surviving parents are entitled to bring an action under 42 U.S.C §
1983, Constitutional violations. In Chaudhry v. City of Los Angeles, 751 F.3d. 1096,
1102 -1105 (Ninth Cir. 2014) cert denied 135 S.Ct. 295 (2014). A defendant Police
Office shot and killed Chaudhry. The court held, California Survival Law prohibiting
recovering for pre-death pain and suffering is inconsistent with Section 1983 Policies of
Compensation and Deterrence in cases in which death was caused by defendants
violation of Federal Law; practical effect of this State Law is to reduce and often
eliminate compensatory damages for survivors of people killed by violations of Federal
Law, with the perverse effect of making it more economically advantageous for
defendants to kill rather than injure a victim. The Ninth Circuit held that California's
Survivorship law, which excludes damages for the deceased pain and suffering, is
inconsistent with the policies of § 1983.

Thus Section 1983 does not require deference to a State Survival Statute that
would bar or limit the remedies available under Section 1983 for unconstitutional
conduct that causes death. McFadden v. Sanchez, 710 F.2d. 907, 911 (Second Cir.
1983) Cert denied 464 U.S. 961 (1983). In Felder v. Kaycee, 487 U.S. 131, 142 (1988)
the court in dictum stated that State statutory limits on monetary recovery are pre-
empted by Section 1983, because “partial immunities inconsistent with Section 1983
must yield to the Federal rights”. Several other Ninth Circuit cases shed light upon the

assertion that the parents of Matthew Robinson have no rights under Federal Law.

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Moreland v. Las Vegas Metropolitan Police Department, 159 F.3d. 365, 371 (Ninth Cir.
1998) held “Substantive due process claim may be asserted by both parents and
children of a person killed by law enforcement officers”. Byrd v. Guess, 137 F. 3d. 1126
(Ninth Cir. 1998) cert denied 525 U.S. 963 (1998), held that deadly force, although a
survival claim was governed by Fourth Amendment objective reasonableness test,
surviving mother and wife’ wrongful claims were governed by Due Process deliberate
indifference standard. In Kelson v. City of Springfield, 767 F.2d. 651 (Ninth Cir. 1985),
the court held that parents may assert Constitutional claim based upon a school’s
failure to prevent their son from committing suicide. Johnson v. Bay Area Rapid Transit
District, 724 F.3d. 1159, 1168-1170 (Ninth Cir. 2013), recognized a parents
Constitutional right to companionship with the son, which may exist regardless of the
child’s age. Corrs v. Anne Lamire v. California Department of Corrections and
Rehabilitation, 726 F.3d. 1062, 1075 (Ninth Cir. 2013) Held that the claim by parent's
and daughter of an inmate who committed suicide, that “parents and children may
assert Fourteenth Amendment substantive Due Process claims, if they are deprived of
their liberty interest in the companionship and society of their child or parent through

official conduct”.

E. WOODS IS NOT ENTITLED TO QUALIFY IMMUNITY

Defendant Woods statement that Robinson was “reaching for my gun” at the
same time as Woods was holding Robinson in a “bear hug” is patently unbelievable. In
addition, Woods claims that Robinson’s left arm was pinned to Robinson’s side
because of Woods “bear hug”. When asked about the right arm, Woods seemed
uncertain and thinks Robinson, was trying to get his gun.

In the investigative interview of Woods on July 29, 2014 by Sgt. Bokovich, Lt.
Hestin, and Attorney Nicole Valentine in the internal affairs investigation No. 14-26,
Woods states “Yeah, and, uh, and | realized in my hand, in my right hand is my OC

canister that | had initially and never got to secured it anywhere and, uhm, so, and he
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starting to reach down into where my gun is at, and so | started to hit him in the face
with my, uhm, OC canister, with the top of my OC canister, and | hit numerous times. |
am not exactly sure how many times as hard uhm, and fast as | could, and my intention
to distract him from reaching down into my gun and equipment area and uh, so that it
would draw his attention to his face and it did.” On Page 15; Line 21 Woods described
himself “covered with blood”. Elsewhere however, Woods testified on Page 18; Line 21
of his deposition: “I couldn't get to my firearm” and in the next answer he stated “after |
struck him with the OC canister, uhm, he, his hand came out from under, underneath
him and my right area right where there to his face and, uh, and so, and then as soon
as that hand came up unto his face, | was able to roll out from underneath him, on top
of him.”

It's clear from the interview testimony of Woods that he is internally inconsistent
with his testimony. He describes Robinson as reaching into the vicinity of his gun and
then later describing that his right arm is underneath his body, a contradiction of the
last statement that the hand is underneath the body is consistent of that of the
witnesses who stated they never observed Robinson reaching for Woods side arm.
(PSF#18)

Defendant Hollemon a Redding Police Officer, and the other a civilian named
Schneider, both testified under oath, that neither of them saw Robinson reaching for
Woods side arm. Defendants argue that “reaching for the gun” justifies the excessive
force applied to Robinsons face. Without a finding of fact that Robinson reached for
Woods gun, which was secured in a safety holster, Woods is liable for applying
excessive force to Robinson's face. When the court considers a Motion for Summary
Judgment, the facts must be reviewed in a light most favorable to the Plaintiff. Margolis
v. Ryan, 140 F.3d. 850, 852 (Ninth Cir. 1998). The standard also applies to a
determination of the Defendants entitlement to qualified immunity as a matter of law.

Moran v. State of Washington, 147 F.3d. 839, 844 (Ninth Cir. 1998).

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Defendant Woods attempts to build his issue of, qualified immunity on the
foundation of the disputed reaching for the gun testimony. The Defendant cites no
authority for the proposition that Woods testimony standing alone is subject to a fact
finding by the court sitting in judgment on a motion for Summary Judgment when those
facts are disputed.

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F. ROBINSON DISCOVERED TO NOT BE BREATHING

In the investigative narrative prepared by Justin Duval Officer Serial No.153,
Officer Duval stated “When | arrived, the Defendant was face down on the concrete
near the entrance of Restpadd Psychiatric Health Facility. He was handcuffed and
being held down by officers. | immediately noted that Defendant was bleeding from his
face and he was lifting his head back and attempting to roll over. | placed my right knee
on the Defendant’s upper left back. He continued to lift his head in attempt to roll over.
Additional officers arrived on scene and after several minutes, leg restraints were put
on the Defendant. Corporal Smyrnos also put a spit hood over the Defendant's head.
An ambulance had also been dispatched to the location to transport the Defendant to
the hospital. Defendant stopped resisting after the leg restraints were put on. We rolled
the Defendant onto his right side so we could better monitor his breathing.”

Also in the investigative narrative Officer Justin Duval states, “I could clearly see his
chest rising and falling as he was breathing. | noted no indication that the Defendant
was having any difficulty breathing.” (Plaintiff's Ex.8)

In the Investigative narrative prepared by Abigail D. Dodds Officer Serial No.
139, Officer Dodds stated, “| asked out-loud if the subject was still breathing. | could
see a slight rise and fall of his chest but it appeared shallow. We moved the subject on

his side and into the recovery position.” Officer Dodds does not describe observations

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about decedent stopped breathing, but only that he had difficulty breathing. (Plaintiff's
Ex.9)

In the investigative narrative prepared by Chris Smyrnos Officer Serial No. 324,
Officer Smyrnos stated:

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“| also asked for someone to bring a spit hood in order to protect us from
D/Robinson’s bloody spit. A short time later | was handed a spit hood by
one of the other officers on scene. D/Robinson’s head was very difficult to
control as it was bloody and sweaty. | was able to get the spit hood onto
the top of D/Robinson’s head and then lifted his head slightly from the
ground to get the fabric around the front of his face. Once | did so, |
ensured that the spit hood was in the proper position over D/Robinson’s
head... | noticed that D/Robinson stopped yelling and his active resistance
subsided.” (Plaintiff Ex.10)

“| checked to make sure D/Robinson was still breathing and he was. |
continued to monitor D/Robinson and noticed that his breathing was
becoming slightly labored and his breaths were taking longer between
each one. Another officer checked D/Robinson’s pulse and told me he still
had one.” (Plaintiff Ex.10)

| instructed Officer Duval to roll D/Robinson onto his left side to
place him in a recovery position. This position is where D/Robinson was
placed on his side while bending his legs toward his waist. This position is
designed to assist an unconscious subject with their breathing. | again
checked D/Robinson’s breathing and noticed a distinct gurgling noise
coming from his airway....A short time later, it appeared that D/Robinson
had stopped breathing”

In footnote 8 in Defendants Memorandum Points and Authorities Defendant
cites testimony from Hollemon as “Minor to moderate bleeding from an abrasion ...the
only lacerations noted were minor cuts to the side of his face”. Plaintiff has attached
photographs of the blood pools that were left at the scene photographed by the

Redding Police Department. (Plaintiff's Ex.5) Autopsy photographs show the extreme
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depth of the wounds on Robinson’s head next to his eye and the autopsy description
that the wound extended through the skin and into the muscle tissue above the eye,
hardly a description of minor cuts. Furthermore, the improvised impact weapon used by
Defendant Woods was struck against Robinsons head with all the force that a Six-foot,
270Ib Defendant Woods could exert against Robinsons head.

As stated in the much cited Ninth Circuit case of, Deorle, 272 F.3d. 1272, at 1282.:

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“The problems posed by, and thus the tactics to be employed against, an
unarmed, emotionally distraught individual who is creating a disturbance
or resisting arrest are ordinarily different from those involved in law
enforcement efforts to subdue an armed and dangerous criminal who has
recently committed a serious offense. In the former instance, increasing
the use of force may, in some circumstances at least, exacerbate the
situation; in the latter, a heightened use of less-than-lethal force will
usually be helpful in bringing a dangerous situation to a swift end. In the
case of mentally unbalanced persons, the use of officers and others
trained in the art of counseling is ordinarily advisable, where feasible, and
may provide the best means of ending a crisis. See Alexander, 20 F.3d. at
1366 (holding that the police used excessive force, considering all the
circumstances, in “storming the house of a man whom they knew to be a
mentally ill ... recluse who had threatened to shoot anybody who
entered”). Even when an emotionally disturbed individual is “acting out”
and inviting officers to use deadly force to subdue him, the governmental
interest in using such force is diminished by the fact that the officers are
confronted, not with a person who has committed a serious crime against
others, but with a mentally ill individual. We do not adopt a per se rule
establishing two different classifications of suspects: mentally disabled
persons and serious criminals. Instead, we emphasize that where it is or
should be apparent to the officers that the individual involved is
emotionally disturbed, that is a factor that must be considered in
determining, under Graham, the reasonableness of the force employed”.

It is difficult to conceive all the Defendants argument for qualified immunity in
light of the actions of Woods toward mental patient Robinson. Robinson committed no
crime and both officers admitted such in their depositions. The use of an OC canister to

beat a mental patient’s face that cut down into the muscle is similar to that of using

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brass knuckles which the law has previously forbidden. In Deorle, Id. at 1285-1286, the
court resolves the issues presented by the Defendant here:

“Although there is no prior case prohibiting the use of this specific
type of force in precisely the circumstances here involved, that is
insufficient to entitle Rutherford, 272 F.3d.1272 to qualified immunity:
notwithstanding the absence of direct precedent, the law may be, as it was
here, clearly established. See Anderson v. Creighton, 483 U.S. 635, 640,
107 S.Ct. 3034, 97 L.Ed.2d 523 (1987) (rejecting the notion that officer
liability cannot exist “unless the very action in question has previously
been held unlawful”). Otherwise, officers would escape responsibility for
the most egregious forms of conduct simply because there was no case
on all fours prohibiting that particular manifestation of unconstitutional
conduct. When “ ‘the defendant ['s] conduct is so patently violated of the
constitutional right that reasonable officials would know without guidance
from the courts’ that the action was unconstitutional, closely analogous
pre-existing case law is not required to show that the law is clearly
established.” Mendoza v. Block, 27 F.3d. 1357, 1361 (Ninth Cir.
1994)(quoting Casteel v. Pieschek, 3 F.3d. 1050, 1053, (Seventh
Cir.1993)). This is such a case. No reasonable officer could have believed
that Rutherford's action in shooting Deorle with the “less lethal” lead-filled
beanbag round was appropriate or lawful... We have held that “an officer
is not entitled to qualify immunity on the grounds that the law is not clearly
established every time a novel method is used to inflict injury” Mendoza,
27 F.3d. at 1362. Given all the circumstances, the error in judgment, such
as it was, does not constitute a “reasonable mistake” of fact or law on
Rutherford's part. Viewing the facts in the light most favorable to the
plaintiff, Rutherford was not entitled to qualified immunity for his use of
excessive force.”

In support of its contention that the Defendants acted lawfully, the Defendants

cite Billington v. Smith, 292 F.3d. 1177, 1185 (Ninth Cir. 2002) (overruled_on other

grounds County of Los Angeles v. Mendez, 137 S.Ct. 1539 (2017)). In Billington,
Hennessey was driving a vehicle in a reckless matter at night, cutting other cars off,
speeding, driving without lights, and crashing into a curb committing hit and run
offenses in the presence of law enforcement officers. Hennessey was found to be
under the influence of alcohol with a .285 percent blood alcohol level. Hennessey
assaulted the officer by grabbing him by the throat and his tie, and swinging at the

arresting officer.

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The fact is in Billington, are opposite to the fact’s here “Detective Smith tried to
back away from Hennessey and fend off his blows and kicks, but Hennessey charged
him, held him in a bear hug, and grabbed his gun by the barrel. Hennessey landed a
solid blow to Detective Smith's head, cutting him, knocking his glasses off, and forcing
him back, out of the glare of the police car's headlights and into the surrounding
darkness.” Clearly a criminal Defendant was the aggressor and was assaulting the
police officer in Billington. |n Billington, the court stated “We consider the
circumstances, including whether the suspect “is actively resisting arrest or attempting
to evade arrest by flight.” Hennessey actively, violently, and successfully resisted arrest
and physically attacked Detective Smith and tried to turn Smith's gun against him. No
one who saw the fight disputes that Hennessey was the aggressor, and that he kept
beating Detective Smith even when Detective Smith tried to retreat. Hennessey was
trying to get the detective's gun, and he was getting the upper hand. Hennessey posed
an imminent threat of injury or death; indeed, the threat of injury had already been
realized by Hennessey's blows and kicks.”

Defense also relies on Johnson v. Cortes, 2011 WL 445921 (N.D. Cal. 2011), an

unopposed motion for Summary Judgment by the Defense. The essential difference in
Johnson v. Cortes from the case at bench is, that the facts were opposite of those of
our case. The officers were restrained in using any force and the Plaintiff was the
aggressor. The Johnson court did not have the spit mask facts developed in Robinson.

In Kingsley v. Hendrickson, 135 S.Ct. 2466, the court discussed a case entitled

Johnson v. Glick, 481 F.2d. 1028 (C.A.2 1973) in which the Johnson court laid out
factors in determining whether the intentional use of force crosses the Constitutional
line a court should look: “to such factors as: 1) the need for the application of force, 2)
the relationship between the need and the amount of force that was used, 3) the extent
of injury inflicted; and 4) whether force was applied in a good-faith effort to maintain or

restore discipline or maliciously and sadistically for the very purpose of causing harm.”

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The Kingsley court then observed that “This statement does not suggest that the fourth
factor (malicious and sadistic purpose to cause harm) is a necessary condition for
liability. To the contrary, the words “such ... as” make clear that the four factors provide
examples of some considerations, among others, that might help show that the use of
force was excessive.”

Here, Defendant Woods, struck Plaintiff decedent in the head, and in the face
with the full force of his musculature as hard and as fast as he could. This indicates
less of a distraction and more of a malicious and sadistic attempt to punish a mentally-
ill subject for his behavior, which irritated and inconvenience the officer.

In Bel-Montez v. City of Stockton, 2017 WL2633412 (E.D.Cal.2017), defendant
who was high on PCP and arrested for public intoxication became agitated and
resistive and was carefully and reasonably restrained by police officers, and suddenly
went limp. The medical examiner performed an autopsy on Garcia, and determined the
cause of death to be cardiac arrhythmia brought on by hypertrophic cardiomyopathy
and a high level of ACP in his system, which aggravated his underlying heart disease
causing cardiac arrest.

IV. MUNICIPAL LIABILITY (MONELL LIABILITY)

In Monell v. Department of Social Services, 436 U.S. 658 (1978) the court found
that the Doctrine of Respondeat Superior does not apply to Municipalities in Section
1983 cases. The analysis urge by the Monell and subsequent cases was discussed by
the Fifth circuit as a fault-responsibility issue in Gonzalez v. Ysleta Independent Schoo!
District , 996 F.2d. 745 (Fifth Cir. 1993). In Gonzalez the Plaintiff an elementary school
student, had been sexually molested by her first grade teacher. The Plaintiff argued
that Section 1983 liability should be imposed upon the School District for the
depravation of her Constitutional rights because the district's “Board of Trustees had
elected to keep the teacher in the classroom in the face of similar allegations of sexual

abuse two years earlier’. /d at 746. Despite these allegations, The Board transferred

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the teacher from his prior school to the Plaintiff's school, rather than relieve him of his
teaching responsibilities altogether.

Because the board of Trustees was the school district final policy maker, its
“conscious decision to transfer” the teacher rather than take other action “plainly
constituted a policy attributable to the school district.” /d at 754. The critical issue is
whether, as Plaintiff urged, the Board’s decision was sufficient to subject the School
District to liability, or as the School District argued, it could not be found liable unless
it’s decision reflected “deliberate indifference”. In Larenz v. City of Los Angeles, 946
F.2d. 630 (Ninth Cir. 1991) the Ninth circuit found the Police Commissioners failure to
take remedial action following Constitutional violations by police officers supported a
finding that the city had a custom or policy of condoning the use of excessive force. In
McRorie v. Shimoda, 795 F.2d 780 (Ninth Cir. 1986) an action for damages arising for
numerous alleged abuses during a prison shake down, the Ninth Circuit stated that
“Policy or custom may be inferred if, after the shakedown, the prison officials took no
steps to reprimand or discharge the guards, or if they otherwise failed to admit the
guards’ conduct was in error.” /d at 784.

Here in Robinson, the only resulting municipal action regarding the incident was
that Officer Woods received a letter of reprimand for using vulgar language and Officer
Hollemon was declared Officer of the Year.

IV. CONCLUSION

No one is contending that Matthew Robinson committed any crime leading to his
encounter with the Defendant Officers. Nor is anyone contending that, had Matthew
stayed home that day he would have died of natural causes. Defendant's contend
Matthew died of a controversial cause known as “excited delirium”. Such a contention
does not constitute an escape from liability. Torturing a mentally disabled person with
verbal and physical assault, hog tying him then placing a hood over his head all of

which was against officer training is a formula for tragedy. No amount of parsing can

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avoid the fact that, but for the unlawful and unconstitutional treatment of Matthew at the
hands of the Redding defendant’s, Matthew would be alive today. Matthew's physical
exam at Enloe Hospital in Chico cleared him for transport.

Matthew Robinson was not a criminal. He was a mental patient. Yet the Redding
police referred to him in their reports as “the subject” or “the defendant” or simply as
“D". Matthew was treated with provocation, disrespect and excessive force.
Defendant’s Motion lacks merit and must be denied.

Dated: 4 st , 2017 THE LAW OFFICE OF LARRY L. BAUMBACH

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LARRY L. BAUMBACH

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